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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

  THE STATE OF LOUISIANA,
  By and through its Attorney General, Liz Murrill,

                                       PLAINTIFF,

  v.

  UNITED STATES ENVIRONMENTAL
  PROTECTION AGENCY; et al.,                          CIVIL ACTION NO. 2:23-cv-00692

                                    DEFENDANTS.



        STATE’S REPLY BRIEF IN SUPPORT OF VACATUR AND PERMANENT INJUNCTION
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                                            INTRODUCTION
         The remedial issues presented here can largely be resolved by Defendants’ forfeitures and

 concessions alone. Defendants’ opposition ignores fully half of the governing standard for withholding

 or limiting vacatur. They thus offer this Court no genuine argument as to why vacatur of the challenged

 disparate-impact rules is unwarranted here when both parts of the two-part standard are considered.

 Specifically, Defendants ignore completely the “the seriousness of the deficiencies of the action” factor

 and never contest the State’s contention that “[t]he defects in Defendants’ disparate-impact regulations

 are irredeemable” under Title VI. See Mot. (Doc. 58) at 4. Defendants’ forfeitures are thus effectively

 dispositive here and fully sufficient to resolve the vacatur issues presented.

         Waivers aside, this case presents no reason to depart from “the default rule”—“that vacatur is

 the appropriate remedy.” Data Marketing Partnership, LP v. DOL, 45 F.4th 846, 859 (5th Cir. 2022)

 (emphasis added) (citations omitted). Here the “disruptive consequences” that Defendants posit—i.e.,

 the only half of the two-part test they deign to address—appear largely to consist of their inability to

 continue to enforce indefinitely disparate-impact regulations that this Court has held violate both Title

 VI and the Constitution. The same cries of “disruption” could be (and often are) raised any time a

 court considers vacating unlawful regulations—yet “the default rule” continues to be that “vacatur is

 the appropriate remedy.” Id. Contrary to Defendants’ contention (at 10) that they would “be needlessly

 prejudiced” by a vacatur, their general inability to inflict unlawful and unconstitutional mandates on

 others is not cognizable “prejudice” at all. That is merely the rule of law at play, reflected in the default

 rule of the APA that an unlawful regulation is simply vacated. Nonetheless, to permit Defendants time

 to unwind their unlawful regulations or appeal/seek a stay in an orderly manner, the State consents to

 a 60-day delay of any vacatur to ameliorate any potential concerns about near-term disruptions.

         Because the State agrees that a statewide injunction is unnecessary if this Court vacates the

 challenged regulations, this Court can avoid the injunctive-relief issues entirely simply by enforcing

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 the APA’s/Fifth Circuit’s “default rule” here. But if this Court reaches the injunctive-relief questions,

 it should grant the State’s requested statewide injunction. Defendants’ opposition is largely premised

 on their contention (at 2) that “equitable relief to benefit non-parties violates Article III limits on this

 Court’s jurisdiction.” But both the Supreme Court and Fifth Circuit have held otherwise.

         This Court should thus follow the “default rule” and simply vacate Defendants’ unlawful

 regulations, with a 60-day delay of the effective date. In doing so, this Court can avoid the need to

 engage with any of the injunctive relief issues presented. But if this Court does not grant a vacatur, it

 should enter the State’s requested statewide injunction.

                                               ARGUMENT
 I.      THIS COURT SHOULD VACATE THE ILLEGAL REGULATIONS CHALLENGED HERE
         A.      Vacatur Is Not Only A Permissible Remedy—It Is The “Default Rule” For APA
                 Cases
         Defendants’ opposition to vacatur is overwhelmingly based not on the law as it exists today

 in the Fifth Circuit, but rather their wish-casted version of what it might be in the future. Defendants

 are welcome to ask the Supreme Court and Fifth Circuit to change the governing law to match their

 preferred vision of it. But under the precedent that binds this Court today, their arguments are not only

 unavailing but also likely not within the bounds of Rule 11.

         Defendants repeatedly insinuate that there is something untoward and impermissible about

 “universal” vacaturs—a puzzling attempt at a pejorative that they deploy nearly twenty times. But

 despite their table-pounding repetition of “universal” as suggesting something improper, it is nothing

 more than redundant verbiage. By their very nature, all vacaturs are universal absent some unique

 limitation. “Universal” in “universal vacatur” thus adds as much meaning as “binding” in “binding

 injunction”—i.e., none. “Universal” is simply a foundational feature of every ordinary vacatur.

         Despite Defendants’ clear antipathy for “universal vacaturs,” the “default rule” nonetheless

 continues to be that “vacatur is the appropriate remedy” in APA cases. Data Marketing, 45 F.4th at

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 859. And while Defendants at times pay lip service to that premise (at 8-9), they repeatedly slip into

 arguments that flout that binding precedent. In particular, Defendants advance the astonishing claim

 that vacatur is prohibited here because “this case involves only one plaintiff … [and thus] the Court

 must limit relief only to that party.” Opp. at 9 (cleaned up) (vacatur argument). 1 In Defendants’ view,

 vacatur is apparently an illegal remedy without a nationwide class. But Fifth Circuit precedent is directly

 to the contrary: vacatur—in its everyday “universal” form—is not only a permissible remedy under the

 APA, but in fact the default rule. Data Marketing, 45 F.4th at 859. Defendants’ vacatur arguments thus

 depart from binding precedent so severely that the default rule has somehow been transmuted into

 being categorically unlawful.2 Defendants are wrong, and vacatur is the proper remedy here.

         B.      Defendants’ Forfeitures Alone Require Vacatur Of The Challenged Disparate-
                 Impact Regulations
         When Defendants actually confront the vacatur standard on its own terms, their forfeitures

 alone confirm that vacatur is proper. Defendants do not ultimately deny that vacatur is the “default”

 remedy and that it is their burden to demonstrate that a limited vacatur or remand without vacatur is

 warranted. See Mot. at 3. Defendants further do not dispute that the Fifth Circuit follows the D.C.



 1
    Defendants tellingly do not cite a single instance in which any court anywhere has ever entered a
 single-party-only vacatur.
 2
    Eschewing meaningful engagement with the Fifth Circuit precedent as it actually exists today,
 Defendants project (at 7, 9) views from concurrences from Justices Thomas and Gorsuch onto the
 full Court as if they were the governing law—rather than the legion of contrary Fifth (and D.C.) Circuit
 precedent that recognizes not only the permissibility of general vacaturs but the presumptive appropriateness
 of granting them. And even if the views of individual Justices were relevant here, Defendants omit
 Chief Justice Robert’s reaction to these same “fairly radical” arguments: “you know, with those of us
 who were on the D.C. Circuit, you know, five times before breakfast, that’s what you do [i.e., grant
 ‘universal’ vacatur] in an APA case.” See Oral Arg. Tr. at 35, United States v. Texas, No. 22-58 (Nov. 29,
 2022) available at https://shorturl.at/yab43. Or Justice Kavanaugh’s observation: that this is “a pretty
 extreme argument,” “a pretty radical rewrite, as the Chief Justice says, of what’s been standard
 administrative law practice” and that “no case has ever said what you’re saying anywhere.” Id. at 54-55
 (emphasis added). Or Justice Jackson, who “just d[id]n’t even understand” the United States’ vacatur
 argument (now regurgitated here) that would “allow the agency to apply its void, defective rule to
 anyone else who’s not the plaintiff.” Id. at 67-68.
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 Circuit’s standard for evaluating whether a remand without vacatur is appropriate: The “test for

 whether vacatur is appropriate considers two factors: ‘(1) the seriousness of the deficiencies of the

 action, that is, how likely it is the agency will be able to justify its decision on remand; and (2) the

 disruptive consequences of vacatur.’” Texas v. Biden, 20 F.4th 928, 1000 (5th Cir. 2021) abrogated on other

 grounds 142 S. Ct. 2528 (2022) (citation omitted).

          But although EPA concedes that the two-part test governs this Court’s vacatur inquiry, they

 remarkably ignore fully one half of the test. And establishing that first factor is an essential requirement if federal

 defendants wish to avoid vacatur: “Given that presumption [that vacatur should issue], remand

 without vacatur is appropriate only if ‘there is at least a serious possibility that the agency will be able to substantiate

 its decision given an opportunity to do so.’” Alliance for Hippocratic Med. v. FDA, 78 F.4th 210, 255 (5th Cir.

 2023) cert. granted 144 S. Ct. 537 (2023) (quoting Texas v. United States, 50 F.4th 498, 529 (5th Cir. 2022))

 (emphasis added). “[O]nly if” means just that: without satisfying that requirement, vacatur is mandatory.

 Id. Yet Defendants ignore this factor entirely—never contesting the State’s (indisputable) point that the

 defects in their disparate-impact regulations are irremediable, see Mot. at 4.

          Consider also the mirror-image scenario if the shoe were on the other foot. To obtain

 injunctive relief, plaintiffs must satisfy all four factors of the four-factor test. See, e.g., Winter v. NRDC,

 555 U.S. 7, 20 (2008). If, for example, the State had not even attempted to argue that it was likely to

 suffer irreparable harm, federal defendants would not hesitate for a second to argue—correctly—that

 injunctive relief was absolutely barred. Id. But here the burden was on Defendants under a two-part

 test if they wished to obtain a limited-or-no vacatur. And yet they did not even attempt to satisfy their

 burden on fully half of the governing two-part test. That forfeiture is fatal here.

          C.        A Vacatur Is Warranted Here
          Even assuming the Defendants’ one-part “disruptive consequences” test were the entirety of

 Defendants’ burden to avoid the “default rule” of vacatur (but see supra § I.B.), Defendants still fail to

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 establish that a remand without vacatur is warranted here.

         Defendants do not identify any uniquely “disruptive consequences” here. Instead, they point

 (at 10-11) to tasks like the need to update guidance—which is true of virtually every instance in which

 vacatur is sought. It is important to remember that withholding vacatur “is, in effect, an indefinite stay

 of the effectiveness of the court’s decision and agencies naturally treat it as such.” NRDC v. EPA, 489

 F.3d 1250, 1262-64 (D.C. Cir. 2007) (Randolph, J., concurring). Such an indefinite stay is precisely

 what Defendants are seeking here. In claiming “disruptive consequences,” therefore, Defendants are

 effectively admitting that they intend to ignore completely this Court’s decision in the 49 other States,

 where (in Defendants’ view) this Court’s decision is a complete nullity.

         In addition, Defendants’ generalized inability to enforce unlawful regulations is not the sort of

 “disruptive consequences” that justify withholding or limiting vacatur. Instead, the “disruptive

 consequences” factor ordinarily is satisfied only where there are particularized short-term

 consequences beyond a general inability to enforce illegal rules, such as where USDA “had improperly

 disbursed large quantities of sugar to farmers across the country, who in turn had already plowed

 under their crops” in reliance. Milk Train, Inc. v. Veneman, 310 F.3d 747, 756 (D.C. Cir. 2002). And

 even those significant reliance interests justified withholding vacatur only because—unlike here—

 “there [wa]s at least ‘a serious possibility’ that the Secretary on remand could explain her use of the

 1999 funds [was] … consistent with the statute.” Id. (citation omitted); accord Sugar Cane Growers Coop.

 of Fla. v. Veneman, 289 F.3d 89, 97 (2002) (withholding vacatur where “crops were [already] plowed

 under. The egg has been scrambled and there is no apparent way to restore the status quo ante.”).

         Unlike those cases, here Defendants’ claimed “disruptive consequences” largely consist of

 Defendants’ inability to enforce forever their regulations that this Court held were manifestly unlawful.

 Vacating such illegal regulations are not the sort of “disruptive consequences” or cognizable injury

 that justify withholding vacatur. They are instead the ordinary consequences of the rule of law at work.
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         Defendants’ “disruptive consequences” arguments also simply ignore entirely that EPA

 stopped enforcing its disparate-impact regulations for more than a year and, like the proverbial tree

 falling in the woods, no one took apparent notice. See Mot. at 5. Defendants’ sky-is-falling contentions

 are thus refuted by the fact that EPA effectively self-vacated its disparate-impact regulations for 13

 months without any apparent disruptive consequences to speak of.

         Vacatur is further warranted because Defendants may otherwise steer grants preferentially to

 other States where grants still bring recipients under Defendants’ disparate-impact mandate. While

 Defendants suggest (at 10 n.4) that these concerns are speculative, they tellingly do not disavow their

 intent to engage in such conduct going forward—let alone provide any binding assurance that they

 would not do so. And while Defendants point (at 10 n.4) to regulations that provide that grants should

 be based on “delivering results based on the program objectives,” they never bother to deny that they

 could deem compliance with Defendants’ disparate-impact regulations as precisely one of those

 “program objectives”—and thereby discriminate in favor of other States based on the very regulation

 that Defendants now claim would protect Louisiana.

         Moreover, Defendants’ warped priorities demonstrate that the State’s concerns are well-

 founded. As explained previously, Defendants’ “environmental justice” agenda has such bizarre

 objectives that (1) EPA went after the State for granting permits that reduced air emissions and

 produced disparate environmental benefits and (2) DOJ prevented Alabama from enforcing state laws

 against illegal sewer discharges in a majority-Black county, thereby subjecting those residents to disparate

 environmental burdens. See Doc. 34 at 16 & n.8.

         More inexplicable decisions have followed since this Court issued a preliminary injunction.

 Notably, EPA awarded $50 million in “Environmental Justice” grants to Climate Justice Alliance, a

 group that (1) declares (somehow) that “Palestine is a Climate Justice Issue,” and (2) through its

 member Grassroots Global Justice Alliance, “has helped organize illegal anti-Israel protests in the
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 Capitol rotunda and other Capitol complex buildings” that were at least tinged with anti-Semitism that

 could, ironically, violate Title VI. See 2d Henderson Decl. Exs. 88-94. EPA’s “environmental justice”

 agenda thus bizarrely put federal funds on both sides of illegal protestsabout Gaza and Israel: with

 federal moneys both indirectly funding the illegal protests themselves and directly funding the security

 and law enforcement deployed against them—all in the putative name of “environmental justice.” Id.

 Given such demonstrably bizarre priorities for “environmental justice,” the State has ample reason to

 fear that Defendants would steer grants away from the State absent a vacatur—since it alone would

 not be subject to Defendants’ disparate-impact-based environmental justice objectives under Title VI.

         Finally, vacatur is further warranted by Defendants’ highly irregular conduct here. Correctly

 sensing that their regulations were indefensible, Defendants engaged in highly inequitable conduct by

 attempting to moot this case through manipulative actions. This Court correctly saw through those

 machinations. See Doc. 48 at 36-40. Defendants’ unclean hands further warrant issuing vacatur. See,

 e.g., Adray v. Adry-Mart, Inc., 76 F.3d 984, 991 (9th Cir. 1995) (“[U]nclean hands weighs in the equitable

 balance that underlies the design of a remedy.”)

         D.      The State Consents To A 60-Day Delay Of Vacatur To Minimize Disruptions
         Although Defendants have manifestly failed to meet their burden for withholding vacatur—

 indeed ignoring fully half of that burden entirely—the State will consent to a 60-day delay in the

 effective date of vacatur either (1) to mitigate any potential disruptions and permit an orderly winding

 down of Defendants’ illegal and unconstitutional regulations or (2) to permit the orderly seeking of a

 stay pending appeal from the Fifth Circuit. Such a delay comports with Judge Griffith’s exhortation

 that federal judges should “consider the alternatives to the open-ended remand without vacatur.” In

 re Core Communs., Inc., 531 F.3d 849, 862 (D. Cir. 2008) (Griffith, J., concurring) (collecting cases

 delaying vacatur rather than withholding it).



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 II.     ARTICLE III STANDING PRINCIPLES DO NOT PRECLUDE THE STATE’S REQUESTED
         INJUNCTIVE RELIEF
         If this Court does not vacate Defendants’ regulations, it should enter the State’s requested

 statewide injunction. Defendants’ central objection to a statewide injunction is grounded in putative

 Article III limitations: in their telling (at 2), “equitable relief [that] benefit[s] non-parties violates Article

 III limits on this Court’s jurisdiction.” That argument fails out of the gate since they do not challenge

 the State’s standing to seek vacatur—which is the default form of APA equitable relief and necessarily

 “benefits non-parties.” See, e.g., Nebraska HHS v. HHS, 435 F.3d 326, 330 (D.C. Cir. 2006).

         This contention fails as to other forms of equitable relief too. Fifth Circuit law is perfectly

 clear—and repeatedly reiterated—that even nationwide injunctions and stays are consistent with Article

 III, even though they necessarily involve providing relief to non-parties. As a recent example, when

 the Fifth Circuit concluded that the OSHA vaccine mandate was unlawful nationwide, it did not

 hesitate to order a nationwide stay—even though tens of millions of Americans who were non-parties

 that would thereby benefit. BST Holdings, L.L.C. v. OSHA, 17 F.4th 604, 619 (5th Cir. 2021). And the

 Supreme Court subsequently granted its own nationwide stay even though no nationwide class was before

 it. See generally NFIB v. DOL, OSHA, 595 U.S. 109 (2022). Similarly, all of Defendants’ instant scope

 arguments were also made to the Supreme Court in seeking to limit the Eighth Circuit’s nationwide

 injunction against the first round of student debt cancellation—and all failed. See generally Biden v.

 Nebraska, 600 U.S. 477 (2023). The same result should obtain here.

         Notably, even a nationwide injunction would be within this Court’s Article III authority, rather

 than the limited statewide injunction the State requests. Nothing that Defendants argue here about Article

 III or equitable principles prohibiting injunctive relief that benefits non-parties was not also advanced

 by federal defendants in Texas v. United States (“Texas DAPA”), 809 F.3d 134, 188 (5th Cir. 2015) aff’d

 by equally divided court 136 S.Ct. 2271 (2016). There too federal defendants argued that Article III barred

 a nationwide injunction. To no avail: “It is not beyond the power of a court, in appropriate
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 circumstances, to issue a nationwide injunction.” Texas DAPA, 809 F.3d at 188. That is because “the

 Constitution vests the District Court[s] with ‘the judicial Power of the United States.’ That power is

 not limited to the district wherein the court sits but extends across the country.” Id. (quoting U.S. Const.

 art. III, § 1) (emphasis added). Texas DAPA thus squarely rejected the proposition that Article III

 precludes relief beyond the named parties. And it remains the binding law of the Fifth Circuit, as

 demonstrated by a multitude of subsequent binding decisions. 3

         Defendants’ reliance (at 2) on cases like Lewis v. Casey, 518 U.S. 343 (1996), is also unavailing.

 There, Article III precluded injunctive relief as to non-English-speaking prisoners because no such

 violations had been found, since the only injury actually established related to a single illiterate prisoner.

 Id. at 358. In contrast, the Supreme Court made clear that Article III does not bar systemwide relief:

 the “inappropriateness of systemwide relief for illiterate inmates does not rest upon the application of standing

 rules, but rather … upon [plaintiffs’] failure to prove that denials of access to illiterate prisoners

 pervaded the State’s prison system.’” Id. at 360 n.7 (emphasis added) (cleaned up).

         In contrast, “‘[o]nly if there has been a systemwide impact may there be a systemwide

 remedy.’” Id. (quoting Dayton Bd. of Ed. v. Brinkman, 433 U.S. 406, 417 (1977)). And that is manifestly

 the case here: under this Court’s holdings, Defendants’ disparate-impact regulations are unlawful and

 unconstitutional everywhere in the U.S.—and legal nowhere. Because the illegality here pervades

 “systemwide,” Defendants’ own case law supports systemwide relief.

         A fortiori, Defendants’ contention that a statewide injunction for a state plaintiff exceeds federal

 courts’ authority under Article III is even more indefensible. Indeed, the Fifth Circuit itself explicitly


 3
   See, e.g., Mock v. Garland, 75 F.4th 563, 587 (5th Cir. 2023) (“[In certain circumstances, nationwide
 relief is appropriate.”); Texas v. United States, 50 F.4th 498, 531 (5th Cir. 2022) (“Our decision to uphold
 the nationwide injunction, rather than more narrowly tailored relief, is based on our reading of circuit
 precedent.”); El Paso Cty. v. Trump, 982 F.3d 332, 373 (5th Cir. 2020) (“‘[I]t is not beyond the power
 of a court, in appropriate circumstances, to issue a nationwide injunction.’” (quoting Texas DAPA,
 809 F.3d at 188)).
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 ordered such relief in Louisiana v. Becerra, 20 F.4th 260, 263-64 (5th Cir. 2021). And while EPA

 handwaves that binding precedent off in a mere footnote (at 5-6 n.2), suggesting it has been silently

 overruled, the Fifth Circuit does not regard its own precedents as so readily disposable: “for a Supreme

 Court decision to change [the Fifth] Circuit’s law, it must be more than merely illuminating with

 respect to the case before the court and must unequivocally overrule prior precedent.” Tech. Automation

 Servs. Corp. v. Liberty Surplus Ins. Corp., 673 F.3d 399, 405 (5th Cir. 2012) (cleaned up). But Defendants

 footnote does not even try to argue that Brackeen “unequivocally overrules” Louisiana v. Becerra, and

 thus Defendants cannot overcome Louisiana v. Becerra.

         A statewide injunction as in Louisiana v. Becerra is warranted here. Given Defendants’ twisted

 priorities, supra at 6-7, Defendants’ potential exploitation of a narrower injunction poses far too great

 a risk. Indeed, even now Defendants bizarrely argue (at 4) that “disparate-impact regulations do not

 require race-based actions,” even though this Court has squarely held otherwise. See Doc. 48 at 30

 (“Where an action would have a disparate impact, a decision-maker is often compelled to act

 intentionally on the basis of racial considerations to avoid the disparate impact.”). Thus, although the

 ink is not even dry on this Court’s preliminary injunction, Defendants have already demonstrated their

 intent to flout its foundational principles. Such lawless defiance of this Court’s holdings cannot be

 reconciled with indulging Defendants’ “trust us” premise. And while Defendants suggest (at 5) that

 it is a “speculative chain of possibilities” that Defendants would exploit Title VI to displace State law

 within the State’s borders, Defendant DOJ recently did just that to Alabama: displacing its sovereign

 laws against illegal sewer discharges in one of its counties. See Ex. 58.

                                             CONCLUSION
         For the foregoing reasons, this Court should enter the State’s proposed judgment.




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        Dated: May 28, 2024                                 Respectfully submitted,

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       * pro hac vice application granted




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